Case 2:03-CV-O2876-SHI\/|-tmp Document 29 Filed 06/15/05 Page 1 of 2 Page|D 52

 

UNITED STATES DISTRICT CoURT FMED :‘-::i' ,_ _\ ,3 (,
WESTERN DISTRICT oF TENNESSEE
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PAl\/IELA ANN DOTSON,

Plaintiff,
CIVIL ACTION NO.: 03-2876-M1/P
vs.

AT&T WIRELESS, et al.

Defendant.

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ORDER GRANTING PLAINTIFF’S MOTION TO MODIFY THE RULE ]6
SCHEDULING ORDER

 

Upon Motion of the Plaintifl", Pamcla A. Dotson, for additional time in Which to
conduct discovery, for good cause Shown, the parties have additional time up to and

including July l 2005 within Which to complete discovery.

IT IS SO ORDERED this 53 day of § §U ,.2005

c:Q/Qw~

United States Dis=ti=iet-Judge

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

